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IN THE UNITED STATES DISTRICT COURT

FOR THE wEsTERN DISTRICT oF TENNESSE P 2
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BILL MAX OVERTON,
Plaintiff,

vs. NO. 05~2477-Ml/P

UNITED STATES OF AMERICA,

Defendant.

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ORDER TRANSFERRING CASE TO WESTERN DISTRICT OF TEXAS

 

On July 5, 2005, plaintiff Bill Max Overton, a resident of
Midland, Texas, filed another complaint against the United States
of America, along with a motion to proceed in forma pauperis.

Twenty-eight U.S.C. § 1346(a) provides:

The district courts shall have original jurisdiction,
concurrent with the United States Court of Federal
Claims, of:

(1) Any civil action against the United States
for the recovery of any internal-revenue tax
alleged to have been erroneously or illegally
assessed or collected, or any penalty claimed
to have been collected without authority or
any sum alleged to have been excessive or in
any manner wrongfully collected under the
internal-revenue laws.

Venue for such an action, however, is governed by 28 U.S.C. §
l402(a), which provides:
Any civil action in a district court against the United

States under subsection (a) of section 1346 of this title
may be prosecuted only:

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(1) Except as provided in paragraph (2), in

the judicial district where the plaintiff

resides.
Plaintiff resides in Midland Texas.l Midland, Texas is located in
the Midland-Odessa Division of the Western District of Texas. 28
U.S.C. § 124(d)(7).

Therefore, it is hereby ORDERED, pursuant to 28 U.S.C. §

1406(a) that this case be TRANSFERRED, forthwith, to the Midland-
Odessa Division of the Western District of Texas. Because the

complaint is being transferred, the motion to proceed in forma

pauperis should be addressed by the transferee court.

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IT Is so 0RDERED this [.> day of August, 2005.

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JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

The exception provided in paragraph (2) is inapplicable.

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 4 in
case 2:05-CV-02477 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

Bill Max Overton
P.O. Box 10301
Midland7 TX 79702--730

Honorable Jon McCalla
US DISTRICT COURT

